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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                              BRUNSWICK DIVISION

 CAMDEN COUNTY, a political
 subdivision of the State of Georgia, by
 and through the Camden County Board
 of Commissioners,

         Plaintiff,                        Civil Action No. 2:22-cv-00077-LGW-
                                           BWC
 v.

 UNION CARBIDE CORPORATION,

         Defendant.

                DEFENDANT UNION CARBIDE CORPORATION’S
                  NOTICE OF SUPPLEMENTAL AUTHORITY

        Defendant Union Carbide Corporation (“UCC”) provides this Notice of

Supplemental Authority in support of its September 27, 2022 Motion to Dismiss

(Dkt. No. 18). On February 7, 2023, the Georgia Supreme Court issued its decision

in Camden County v. Sweatt, holding that the Home Rule Paragraph of the Georgia

Constitution (Ga. Const. Art. IX, § II, Para. I) authorized the Camden County voters’

March 8, 2022, Referendum to repeal “the resolutions of the Board of

Commissioners of Camden County, Georgia, authorizing the Option Agreement

with Union Carbide Corporation and Camden County’s right and option to purchase

the property described therein.” Camden County v. Sweatt, S22A0837, at p. 30

(attached hereto as Exhibit A).



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        The Supreme Court’s decision confirms that UCC was not in breach of the

Option Agreement for not selling the Property to the County after March 8, 2022, as

alleged in the Complaint. On that date, the Referendum “bec[a]me of full force and

effect,” Ga. Const. Art. IX, § II, Para. I(b)(2), and constituted an anticipatory

repudiation of the Option Agreement under Georgia law, which absolved UCC of

any obligation to sell the Property to the County. Therefore, UCC’s Motion to

Dismiss should be granted.

                          [signature on following page]




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        Respectfully submitted this 8th day of February, 2023.

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                                       Counsel for Defendant Union Carbide
                                       Corporation




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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
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 CAMDEN COUNTY, a political
 subdivision of the State of Georgia, by
 and through the Camden County Board
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         Plaintiff,                        Civil Action No.        2:22-cv-
                                           00077-LGW-BWC
 v.

 UNION CARBIDE CORPORATION,

         Defendant.



                            CERTIFICATE OF SERVICE

        I hereby certify that I served the foregoing DEFENDANT UNION CARBIDE

CORPORATION’S NOTICE OF SUPPLEMENTAL AUTHORITY via the Court’s

CM/ECF filing system, which will automatically send electronic notice to all

attorneys of record.

        This 8th day of February, 2023.

                                            /s/ Shannon Vreeland
                                            Shannon N. Vreeland




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